Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 1 of 12 Page ID #:1255



   1

   2

   3

   4

   5

   6

   7

   8                           UNITED STATES DISTRICT COURT

   9                           CENTRAL DISTRICT OF CALIFORNIA

  10

  11    MAURICE LALLEMAND,                     Case No. CV 17-0781 JAK (SSx)

  12                       Plaintiff,          MEMORANDUM DECISION AND ORDER
                                               DENYING DEFENDANTS’ EX PARTE
  13          v.                               APPLICATION FOR ORDER
                                               COMPELLING PRODUCTION OF
  14    COUNTY OF LOS ANGELES, et al.,         LIMITED PERSONNEL RECORDS
                                               PURSUANT TO PROTECTIVE ORDER
  15                       Defendants.
                                               [Dkt. No. 109]
  16

  17         On    June   7,   2008,   Defendants   County   of   Los   Angeles,   Jim

  18   McDonnell, Ungrey Holifield, Tawnia Rojas, Ernesto Valencia, Andrew

  19   Hagewood, Matthew Vanderhorck and Allen Castellano collectively

  20   filed an “Ex Parte Application for an Order Compelling Production

  21   of Limited Personnel Records Subject to Protective Order, or,

  22   Alternatively, for an Order Shortening Time to Hear Defendants’

  23   Motion to Compel Production of Documents,” (“Ex Parte Application”

  24   or “Ex Parte Appl.”), including the declaration of Marvin C. Cho

  25   (“Cho Decl.”). (Dkt. No. 109). Defendants seek an Order compelling

  26   production of Plaintiff Maurice Lallemand’s personnel file kept by

  27   his employer, the Los Angeles County District Attorney Bureau of

  28   Investigation (“LACDA-BOI”).
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 2 of 12 Page ID #:1256



   1         On June 11, 2018, Plaintiff filed an Opposition to the Ex

   2   Parte Application, (“P Opp.”), supported by the declaration of Olu

   3   K. Orange (“Orange Decl.”).             (Dkt. No. 111).         That same day, third

   4   parties Los Angeles County District Attorney’s Office, LACDA-BOI

   5   Sgt. Jose Cisneros and former LACDA-BOI Investigator Mark Felix

   6   (collectively, the “DA”) filed the “Declaration of Raymond J.

   7   Fuentes in Opposition to Ex Parte Application.”                   (“Fuentes Decl.,”

   8   Dkt. No. 112).

   9

  10         On    June   12,     2018,    the   Court     held    a   telephonic       hearing.

  11   Following the hearing, pursuant to the Court’s instruction, the DA

  12   filed   a    “Supplemental         Declaration       of    Raymond   J.    Fuentes      in

  13   Opposition to Ex Parte Application.”                 (“Fuentes Supp. Decl.,” Dkt.

  14   No. 113).     On June 13, 2018, the DA filed an “Amended Supplemental

  15   Declaration    of    Raymond       J.   Fuentes     in    Opposition      to    Ex   Parte

  16   Application.”       (“Fuentes Am. Supp. Decl.,” Dkt. No. 115).                    For the

  17   reasons stated below and on the record at the hearing, the Ex Parte

  18   Application is DENIED.

  19

  20                                             II.
  21                                      BACKGROUND FACTS

  22

  23         Plaintiff       is      a     Senior        Investigator       at        LACDA-BOI.

  24   (“Complaint,” Dkt. No. 1, ¶ 19).                 Plaintiff alleges in this action

  25   that certain Los Angeles County Sheriff’s Department (“LASD”)

  26   Deputies “ignored his status as a peace officer,” (id. ¶ 25), and
  27   “wrongfully and unlawfully assaulted, battered, detained, searched

  28   and retaliated against [him] for attempting to perform his duties

                                                    2
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 3 of 12 Page ID #:1257



   1   and attempting to exercise his right to free speech.”               (Id. ¶ 22).

   2   Plaintiff further alleges that Defendants conspired to “dissuade,

   3   mislead and deny him the opportunity to file [a] complaint” with

   4   the LASD about the incident.       (Id. ¶ 29).

   5

   6         On March 23, 2018, Defendants served the “Los Angeles County

   7   District Attorney’s Office” with a subpoena to produce materials

   8   in Plaintiff’s personnel file.        (Cho Decl. ¶ 2 & Exh. A at 18-22).1

   9   Defendants simultaneously served a deposition subpoena on Sgt.

  10   Cisneros, Plaintiff’s direct supervisor, which included the same

  11   document request as that served on the District Attorney’s Office.

  12   (Id. ¶ 3 & Exh. A at 23-27).          The subpoenas sought production of

  13   “Any and all documents contained in Plaintiff Maurice Lallemand’s

  14   personnel    file    including,    but      not    limited    to,   performance

  15   evaluations,     complaints    made    by    and    against    Lallemand,   and

  16   disciplinary actions.”      (Id., Exh. A at 18, 23).2

  17

  18         On April 26, 2018, Cho sent an email to Plaintiff’s counsel,

  19   Olu Orange, asking whether Plaintiff would agree to a proposed

  20   stipulation to reopen discovery for the limited purposes of taking
  21   1 In the absence of consecutive pagination, the Court will cite to
  22   specific pages of Exhibits submitted by any party by the CM/ECF
       page numbers on the Court’s docket.
  23
       2 On March 28 and 29, 2018, DA counsel Raymond J. Fuentes attempted
  24   to correspond via email with Defendants’ counsel Marvin C. Cho
  25   regarding the need for a protective order and to inform Defendants’
       of the DA’s assertion of various privileges in opposition to the
  26   subpoenas.   (See Fuentes Supp. Decl., Exhs. 2-3).      However, as
       Fuentes admitted in his Amended Supplemental Declaration, those
  27   March 2018 emails were sent to an incorrect address. (Fuentes Am.
       Supp. Decl. ¶¶ 5-6). Cho represented at the hearing that he never
  28   received the March 28 and 29 emails from Fuentes.
                                              3
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 4 of 12 Page ID #:1258



   1   the depositions of Jose Cisneros and Mark Felix, and, separately,

   2   if Plaintiff would agree to enter into a protective order for the

   3   production of Plaintiff’s personnel file.             (Orange Decl., Exh. A

   4   at 1).   Orange responded on April 30, 2018, stating that Plaintiff

   5   did not have any objections to the depositions of Cisneros and

   6   Felix,   but   would    not   agree   to   the   production   of   Plaintiff’s

   7   personnel file.     (Id.).      On May 3, 2018, the Parties filed a Joint

   8   Stipulation to reopen discovery solely for the purpose of taking

   9   the Cisneros and Felix depositions.           (Dkt. No. 106).      The District

  10   Judge granted the Stipulation on May 7, 2018 and ordered that those

  11   two depositions be taken by June 18, 2018.           (Dkt. No. 108; see also

  12   Cho Decl. ¶ 5).

  13

  14         On May 9, 2018, Cho forwarded a proposed stipulation for a

  15   protective order to Fuentes for his review and signature.             (Fuentes

  16   Am. Supp. Decl. Exh. 5 at 9-10).           On May 12, 2018, Fuentes sent an

  17   email to Cho in which he stated that Plaintiff had contacted the

  18   District Attorney’s Office to object to the production of his

  19   personnel file, and that Fuentes’ office had spoken to Plaintiff’s

  20   attorney, Orange, who likewise objected to the production of the
  21   personnel file and refused to sign the stipulation for protective

  22   order to prepare for the production.              (Cho Decl. ¶ 7; see also

  23   Fuentes Am. Supp. Decl. Exh. 5 at 9).            Fuentes further stated that

  24   in light of Plaintiff’s objections, the District Attorney’s Office

  25   was “obligated to object to the production of Mr. Lallemand’s

  26   personnel file.”       (Id.).
  27   \\

  28   \\

                                              4
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 5 of 12 Page ID #:1259



   1         On May 15, 2018, Cho sent Fuentes and Orange a meet and confer

   2   letter regarding the production of Plaintiff’s personnel file.

   3   (Cho Decl., Exh. A at 41-43).       In the letter, Cho agreed to narrow

   4   the document requests, and notified the parties that if they did

   5   not agree to the production, Defendants would file an Ex Parte

   6   Application for an order compelling production of the file.             (Id.

   7   at 43).    On May 16, 2018, Fuentes sent an email to Cho explaining

   8   that Plaintiff and his attorney objected to the production of

   9   Plaintiff’s personnel file on the grounds that the information was

  10   privileged    and   confidential    and   the   subpoena   was   overbroad.

  11   (Fuentes Am. Supp. Decl., Exh. 7 at 35).        Fuentes further explained

  12   that the proposed deponent, Sgt. Cisneros, “does not have control,

  13   dominion and/or access to Mr. Lallemand’s Personnel File; and, as

  14   such, is not in a position to produce Mr. Lallemand’s Personnel

  15   File.”    (Id.).    Accordingly, Fuentes stated that Cisneros “will

  16   object to any Motion to Compel the Personnel File.”           (Id.).

  17

  18         On May 29, 2018, Cho delivered Defendants’ portion of a Joint

  19   Stipulation to Fuentes. (Cho Decl. ¶ 11 & Exh. A at 1-14). Fuentes

  20   sent an email to Cho on May 30, 2018 summarizing the objections of
  21   the District Attorney’s Office and Sgt. Cisneros to the subpoenas

  22   on the grounds of (1) various privileges, (2) Plaintiff’s personal

  23   objections to the production of his file, (3) the need for a court

  24   order in light of Plaintiff’s objections to the production, and

  25   (4) Cisneros’ lack of possession, custody or control over the

  26   requested materials.      (Fuentes Decl. Exh. 1 at 5).        In the email,
  27   Fuentes specifically asked Cho to advise the Court of his clients’

  28   objections to the Ex Parte Application and Motion to Compel. (Id.).

                                             5
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 6 of 12 Page ID #:1260



   1                                         III.

   2                                     DISCUSSION

   3

   4   A.    Ex Parte Relief Is Not Warranted

   5

   6         Ex parte applications are solely for extraordinary relief and

   7   should be used with discretion.            See Mission Power Eng’g Co. v.

   8   Cont’l Cas. Co., 883 F. Supp. 488 (C.D. Cal. 1995).           Evidence must

   9   show that the moving party’s cause “will be irreparably prejudiced

  10   if the underlying motion is heard according to regular noticed

  11   motion procedures.”      Id. at 492.       Moreover, the moving party must

  12   establish that it is “without fault in creating the crisis that

  13   requires ex parte relief, or that the crisis occurred as a result

  14   of excusable neglect.”      Id.

  15

  16         Here, Defendants have failed to show irreparable prejudice or

  17   that they were without fault in creating the crisis requiring ex

  18   parte relief.     At the hearing, Defendants were unable to identify

  19   any specific information in Plaintiff’s personnel file that they

  20   anticipated would be relevant to their case.           Instead, Defendants
  21   merely speculated that the file might contain such information.

  22   Accordingly,     Defendants    have    not   shown   that   they   would     be

  23   irreparably prejudiced if this dispute were heard on a regularly

  24   noticed motion.

  25

  26         Furthermore, Defendants were plainly responsible for the delay
  27   in pursuing this discovery and in seeking judicial relief.            At the

  28   outset of this litigation, the District Judge plainly defined the

                                              6
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 7 of 12 Page ID #:1261



   1   fact discovery cut-off as “the final day for completion of non-

   2   expert discovery, including resolution of all discovery motions.”

   3   (“Order Setting Rule 16(b)(/26(f) Scheduling Conference,” Dkt. No.

   4   45 at 3) (emphasis added).3       Nonetheless, as further discussed in

   5   Part III.B below, Defendants waited until the end of the fact

   6   discovery period even to serve the subpoenas, without allowing a

   7   sufficient cushion of time to resolve any discovery disputes that

   8   might arise in connection with the subpoenas.              Defendants were

   9   unable at the hearing on the ex parte to provide any persuasive

  10   justification for failing to seek the personnel file earlier in

  11   the case.     Furthermore, once discovery was reopened for limited

  12   purposes, Defendants also delayed bringing this matter to the

  13   Court, even after being unequivocally put on notice that Plaintiff

  14   and the DA opposed the production of Plaintiff’s personnel file.

  15   The Court is not persuaded that this Ex Parte Application could

  16   not have been brought as a regularly noticed motion, had Defendants

  17   proceeded with reasonable diligence.        Accordingly, Defendants have

  18   failed to show an entitlement to ex parte relief.

  19

  20
  21

  22

  23

  24   3 Judge Kronstadt’s form Consolidated Standing Orders for Civil
  25   Cases, available on the Court’s website, likewise includes this
       definition of the discovery cut-off, and appears to be not only
  26   the source of the definition in the Order Setting Rule 16(b)(/26(f)
       Scheduling Conference, but also the currently operative version of
  27   the definition. (See http://www.cacd.uscourts.gov/honorable-john-
       kronstadt, “Consolidated Standing Orders for Civil Cases (Revised
  28   09-16-16),” at 40).
                                             7
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 8 of 12 Page ID #:1262



   1   B.     Defendants Have Not Shown Good Cause To Warrant Relief From

   2          The Scheduling Order

   3

   4          Fact discovery closed in this matter on April 9, 2018.           (See

   5   Dkt. No. 100).          On May 7, 2018, the District Judge reopened

   6   discovery pursuant to the parties’ stipulation “for the limited

   7   purpose of taking the depositions of (1) Jose Cisneros and (2) Mark

   8   Felix.”     (Dkt. No. 108).    The parties’ stipulation did not seek to

   9   reopen discovery for the purpose of obtaining Plaintiff’s personnel

  10   file, and the District Judge’s Order did not expressly grant such

  11   permission.     (See Dkt. Nos. 106, 108).          Indeed, Defendants had

  12   specifically inquired whether Plaintiff would agree to stipulate

  13   to reopen discovery for the production of Plaintiff’s personnel

  14   file, and Plaintiff would not consent.           (Orange Decl., Exh. A at

  15   1).    Accordingly, Plaintiff’s personnel file was not included in

  16   the Court’s Order reopening discovery for limited purposes, and

  17   Defendants’ pursuit of the file after the April 9, 2018 cut-off

  18   appears untimely.

  19

  20          The undersigned does not have the authority to alter the
  21   scheduling order set by the District Judge.             See Watts v. Allstate

  22   Indemnity Co., 2012 WL 5289314, at *2 (E.D. Cal. Oct. 23, 2012)

  23   (magistrate judge does not have authority to amend district judge’s

  24   scheduling order or to hear untimely discovery disputes); UMG

  25   Recordings, Inc. v. Disco Azteca Distribs., Inc., 2006 WL 2034689,

  26   at *3 (E.D. Cal. July 18, 2006) (“Of course, the magistrate judge
  27   is    not   empowered    to   modify   the   district    judge’s   scheduling

  28   order.”).     Even if the Court had such authority, Defendants would

                                              8
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 9 of 12 Page ID #:1263



   1   still need to show good cause for amendment of the scheduling

   2   order, which Defendants have not done here. As one court explained:

   3

   4                 Rule 16 of the Federal Rules of Civil Procedure

   5         authorizes       the   court   to   enter      pretrial    scheduling

   6         orders, which set dates for the completion of discovery,

   7         the hearing of dispositive motions, trial, and other

   8         matters.    Rule 16(b) provides that the “scheduling order

   9         shall not be modified except by leave of court and upon

  10         a showing of good cause.”               Fed. R. Civ. Proc. 16(b).

  11         Thus, when a plaintiff seeks to continue the dates set

  12         by the court at a scheduling conference, it must first

  13         show “good cause” for modification of the scheduling

  14         order    under    Rule    16(b).        See   Zivkovic    v.   Southern

  15         California Edison Co., 302 F.3d 1080, 1087 (9th Cir.

  16         2002); Johnson v. Mammoth Recreations, Inc., 975 F.2d

  17         604, 608 (9th Cir. 1992).

  18

  19                 This “good cause” standard “primarily considers the

  20         diligence of the party seeking the amendment.”                 Johnson,
  21         supra, 975 F.2d at 609.        A party demonstrates good cause

  22         for the modification of a scheduling order by showing

  23         that, even with the exercise of due diligence, he or she

  24         was unable to meet the timetable set forth in the order.

  25         See Zivkovic, supra, 302 F.3d at 1087; Johnson, supra,

  26         975 F.2d at 609.         “If the party seeking the modification
  27         ‘was not diligent, the inquiry should end’ and the motion

  28         to modify should not be granted.”              Zivkovic, supra, 302

                                                 9
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 10 of 12 Page ID #:1264



    1           F.3d at 1087 (citation omitted).             See also Johnson,

    2           supra, 975 F.2d at 609 (“Although the existence or degree

    3           of prejudice to the party opposing the modification

    4           might supply additional reasons to deny a motion, the

    5           focus of the inquiry is upon the moving party’s reasons

    6           for seeking modification”).

    7

    8   Matrix Motor Co. v. Toyota Jidosha Kabushiki Kaisha, 218 F.R.D.

    9   667, 671 (C.D. Cal. 2003).

   10

   11           Defendants waited until the very end of the discovery period

   12   to serve subpoenas for the production of Plaintiff’s personnel

   13   file.      At the hearing on the Ex Parte Application, the Court

   14   specifically afforded Defendants an opportunity to explain why they

   15   had delayed serving the subpoenas, and counsel was unable to

   16   identify any persuasive reason why the discovery was not and could

   17   not have been propounded sooner.            Defendants did not show that the

   18   relevance of the information they hoped to find in Plaintiff’s

   19   personnel      file   became   apparent     only   after    Plaintiff    had   been

   20   deposed, for example.          Indeed, requests for information included
   21   in law enforcement officers’ personnel files are somewhat routine.

   22   If Defendants believe that Plaintiff’s file may potentially contain

   23   helpful information, the need to pursue that information should

   24   have    been   discernable     from   the    beginning     of   this   litigation.

   25   Therefore, Defendants have not demonstrated the diligence that

   26   would ordinarily be required to amend a scheduling order to seek
   27   late discovery.

   28

                                                10
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 11 of 12 Page ID #:1265



    1   C.     Defendants    Have   Not   Shown    That   Cisneros   Has   Possession,

    2          Custody Or Control Of The Documents Requested

    3

    4          “The party to whom a subpoena for records is issued must

    5   produce only those records which are in his ‘possession, custody

    6   or control.’”       United States v. Int’l Union of Petroleum & Indus.

    7   Workers, AFL-CIO, 870 F.2d 1450, 1452 (9th Cir. 1989) (quoting Fed.

    8   R. Civ. P. 34(a) (footnote omitted)).             “Control is defined as the

    9   legal right to obtain documents upon demand.”                Int’l Union, 870

   10   F.2d at 1452.    “The party seeking production of the documents . . .

   11   bears the burden of proving that the opposing party has such

   12   control.”     A mere "practical" ability to obtain the documents --

   13   i.e., a supervisor may go into an employee's file -- is not

   14   sufficient for Rule 45.      See In re Citric Acid Litigation, 191 F.3d

   15   1090, 1107-8 (9th Cir. 1999) (separate corporate entities, even

   16   with   the   "practical"    ability   to    obtain   documents,    lack   legal

   17   control and therefore cannot be compelled to produce); Thompson v.

   18   Gonzales, 2016 WL 5404436 at *2 (E.D. Cal. 2016) (correctional

   19   officers have no duty to produce prison records that they have no

   20   legal right to obtain).
   21

   22          Even if the Court were to construe the District Judge’s Order

   23   reopening discovery for the limited purpose of taking Cisneros’

   24   deposition to include the production of documents requested in the

   25   subpoena served on Cisneros, Defendants’ Ex Parte Application would

   26   still fail.     Fuentes explicitly informed Cho that while Cisneros
   27   “has information about the underlying incident,” Cisneros “is not

   28   the custodian of records for the District Attorney’s Office,” and

                                              11
Case 2:17-cv-00781-JAK-SS Document 116 Filed 06/14/18 Page 12 of 12 Page ID #:1266



    1   therefore does not have legal “control” over Plaintiff’s personnel

    2   file.     (Fuentes Decl., Exh. 1 at 5).      It is Defendants’ burden to

    3   show that Cisneros in fact has such control, which Defendants have

    4   failed to meet.    This is an alternate and independently sufficient

    5   basis for denying the Ex Parte Application.

    6

    7                                       IV.

    8                                   CONCLUSION

    9

   10           For the reasons stated above and at the hearing, Defendants’

   11   Ex Parte Application is DENIED.

   12

   13   DATED:    June 14, 2018
                                                          /S/         __________
   14                                             SUZANNE H. SEGAL
                                                  UNITED STATES MAGISTRATE JUDGE
   15

   16

   17

   18

   19

   20
   21

   22

   23

   24

   25

   26
   27

   28

                                             12
